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                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA


   UNITED STATES OF AMERICA                          CRIMINAL ACTION
   VERSUS                                            NO: 10-285
   ARTHUR HARRIS AND ANDRE                           SECTION: J (1)
   HARRIS


                          ORDER AND REASONS

     Before the Court are Defendant Arthur Harris’s Motion in

Limine to Exclude the Introduction at Trial of Any Evidence or

Testimony Relating to the September 2008 Incident Referenced in

New Orleans Police Department Report Item No. I-17326-08 (Rec.

Doc. 46) and the Government’s response to same (Rec. Doc. 52).



                               BACKGROUND

     This case is set for trial on Monday, December 12, 2011.

Defendant Arthur Harris (“Defendant”) and his co-defendant, Andre

Harris, are charged with several drug and firearm counts.             The

superseding indictment (Rec. Doc. 10), Counts 1 and 2, charge

that beginning at a time unknown but before September 2008 and

continuing through February 24, 2011, the defendants were engaged

in a drug and gun conspiracy.     Counts 3 through 6 are drug and

gun charges pertaining to two specific dates, June 1, 2010 and

February 8, 2011.   Defendant asserts that on November 22, 2011

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(the Tuesday of Thanksgiving week), the Government emailed to

Defendant a New Orleans Police Department (“NOPD”) incident

report bearing Item No. I-17326-08.         The police report, Defendant

asserts, concerns an incident that happened in September 2008,

when Defendant was only 17 years old, regarding a completely new

location not directly connected with Defendant or his family.

Defendant asserts that the report alleges the presence of four or

five previously undisclosed firearms along with several new

unindicted individuals.

      Specifically, the police report details the NOPD

investigation of a September 14, 2008 shooting death and the

seizure of at least four weapons and ammunition in connection

with that shooting.      The report states how Defendant and two

other men were arrested.        It describes how, upon responding to a

call about a shooting, police officers were directed to a

residence where they found ammunition, firearms, and drug

paraphernalia.1    Defendant was present and was arrested.            When he

was booked into the prison, Defendant phoned defendant Andre

Harris; both brothers discussed the seizure of the firearms.                  The

Government has expressed its intention to introduce into evidence

these conversations to prove the defendants’ knowledge and


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        The Government states that many of the items were later discovered
after the officers had obtained a search warrant.

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possession of these firearms.     Rec. Doc. 52, at 3.         The

Government states that the phone calls were previously played for

Defendant and his attorney, though the Government did not provide

defense counsel with the police report until November 22, 2011.

On November 29, 2011, while defense counsel met with the

Government to view the evidence from the September 2008 incident,

the Government provided a supplemental NOPD report that contains

a transcribed statement made by Defendant to NOPD detectives.



                       THE PARTIES’ ARGUMENTS

     Defendant moves that the Court prohibit the Government from

introducing any testimony or evidence regarding the NOPD’s

investigation referenced in NOPD Item No. I-17326-08.            He further

requests in the alternative that the Court grant a continuance of

the trial under Federal Rule of Criminal Procedure 16(d)(2)(B) to

allow defense counsel reasonable time to investigate the matter.

His supporting arguments are twofold.        First, Defendant argues

that under Rule 16(d)(2)(C), the Government’s late notice and

delivery of the information to defense counsel should result in

exclusion because defense counsel lacks sufficient time to

prepare an adequate defense.     Defendant argues that the

information should have been disclosed earlier.

     Second, Defendant argues that the information regarding the

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September 2008 incident is more prejudicial than probative, in

violation of Federal Rule of Evidence 403.        The four or more guns

seized on September 15, 2008 are not listed in the superseding

indictment.   The only firearms listed in said indictment are two

guns in Count 4 (regarding the June 1, 2010 incident) and four

guns in Count 6 (regarding the February 8, 2011 incident).             Thus,

Defendant argues, permitting any evidence or testimony regarding

the four other guns would confuse and mislead the jury.

Accordingly, Defendant requests that the Court prohibit the

Government from eliciting any testimony or introducing any

evidence regarding the NOPD investigation detailed in NOPD Item

No. I-17326-08.

     The Government, in opposition, argues that the instant

motion should be denied because defense counsel was aware of the

pertinent information months ago and because the criminal conduct

alleged in the police report is part of the overall drug and

firearm conspiracies charged in Counts 1 and 2.          It avers that

the incident that is the subject of the police report was

discussed with defense counsel and Defendant during previous

meetings several months ago.     On March 9, 2011, the Government

turned over to defense counsel the recorded phone calls from the

jail made immediately following Defendant’s arrest on September

15, 2008.   See Rec. Doc. 46-2, at 3 (Government letter to defense

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counsel noting that the Government was providing compact discs of

prison phone calls made between September 15, 2008 and November

15, 2008).

      The Government additionally argues that the evidence of the

September 2008 investigation is relevant to Defendant’s knowledge

and intent to commit the charged conspiracies, is intrinsic to

the charges, and is not overly prejudicial.           It argues that the

items recovered during the incident will be introduced to

corroborate the 2008 phone calls and to prove what the defendants

were talking about on the phone—thus proving the defendants’

knowledge and intent to commit the crimes at issue.             It further

argues that the defendants will not be unfairly prejudiced

because the Government will not introduce evidence of the

shooting.2   As to the supplemental report recently provided to

defense counsel, the Government avers that it has no intention of

offering as part of its case-in-chief Defendant’s statement in

the supplemental report.3




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        The Government states that it will avoid testimony about the shooting
by eliciting testimony from the officers that they responded to a call for
assistance, which led them to the house where they discovered the drug
paraphernalia, firearms, and ammunition. Rec. Doc. 52, at 5.
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        The statement was taken by the police in an attempt to determine who
committed the shooting. The Government asserts that because someone else was
identified as the shooter, that individual was the main suspect, and Defendant
did not at all confess criminal activity in his statement.

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                               DISCUSSION

     The evidence of the firearms discovered on September 15,

2008 is relevant.    While true that said firearms are not

mentioned in any of the counts in the superseding indictment, the

firearms are relevant as to whether the defendants had the

necessary mens rea that is an element of the conspiracy counts.

Counts 1 and 2 allege that the conspiracy began prior to

September 2008 and did not end until 2011, and thus the September

15, 2008 incident falls squarely into the time period during

which the conspiracy allegedly occurred.

     The Government has stated that it intends to offer into

evidence the recovery of the guns and drug paraphernalia as they

are related to the defendants’ phone call on September 15, 2008.

Rec. Doc. 46-2, at 5.    The Government argues that such evidence

is relevant to the defendants’ knowledge of the possession of

these weapons as well as those found on them later in the

conspiracy.   Id.    The Government states that it does not intend

to offer evidence concerning the shooting that is described in

the police report.    Id.   The Government correctly argues that the

drug paraphernalia and guns from the September 15, 2008 incident

are relevant to the conspiracy counts.       However, Defendant argues

that there is a danger of unfair prejudice that the jury would

use these other guns (which are not listed in the superseding

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indictment) not only as proof of a conspiracy, but also as proof

of the substantive gun counts (Counts 4 and 6).            Such would be

improper because it would constitute the jury’s use of guns as to

which there are no charges to prove that Defendant subsequently

knowingly possessed firearms that are listed in the superseding

indictment.    This is the type of confusion of the issues and

misleading of the jury that Rule 403 is designed to prevent.

However, the Court finds that these considerations do not

substantially outweigh the evidence’s probative value regarding

the conspiracy counts.4      Thus, a limiting instruction will

appropriately mitigate any potentially unfair prejudice.

      As to the timeliness issue, Federal Rule of Criminal

Procedure 16(d)(1) grants the court the power to regulate

discovery, and Rule 16(d)(2)(C) permits the court to prohibit a

party from introducing undisclosed evidence if the party fails to

comply with Rule 16.      Even to the extent defense counsel

previously was made aware of some of the details of the September

16, 2008 incident, it is a bit troubling that the Government

provides no explanation for its choice to disclose the




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        See FED. R. EVID. 403 (“The court may exclude relevant evidence if its
probative value is substantially outweighed by a danger of one or more of the
following: unfair prejudice, confusing the issues, misleading the jury, undue
delay, wasting time, or needlessly presenting cumulative evidence.”) (emphasis
added).

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information so close to the trial date.5         Still, defense counsel

was aware of the incident based on the previously provided

telephone call.     The Government asserts that it played the

telephone call for Defendant and his attorney several months ago,

and that agents told Defendant that several firearms were

recovered from under the house during the September 15, 2008

incident.    A potential problem is that the phone call did not

contain details of the shooting referenced in the police report.

Defendant asserts that in the phone call, the only discussion

between the defendants was Andre Harris’s berating of Arthur

Harris for being around guns and drugs and getting arrested.

However, the information about the shooting presents no real

problem because the Government has asserted it will not offer

evidence of the shooting (Rec. Doc. 46-2, at 5).            Accordingly,

      For the foregoing reasons, IT IS ORDERED that Defendant’s

Motion in Limine to Exclude the Introduction at Trial of Any

Evidence or Testimony Relating to the September 2008 Incident

Referenced in New Orleans Police Department Report Item No. I-



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        The December 12, 2011 trial date is the sixth trial date in this case.
See Rec. Docs. 6, 27, 28, 31, 36, 39. After receiving the police report
during Thanksgiving week, Defendant moved to continue and the Court denied the
motion, although it was unopposed by the Government. Rec. Doc. 44, at 3; Rec.
Doc. 45. Perhaps, based on the Court’s previous granting of continuances in
proper instances, the Government expected that defense counsel could simply
move for a continuance if the defense felt it needed more time to investigate
the circumstances alleged in the newly-provided police report.

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17326-08 (Rec. Doc. 46) is DENIED.

     IT IS FURTHER ORDERED that the parties may submit a proposed

limiting instruction to be given to the jury regarding the

limited relevance of the firearms from the September 2008

incident to the conspiracy counts.

     New Orleans, Louisiana this the 8th day of December, 2011.




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                                        CARL J. BARBIER
                                        UNITED STATES DISTRICT JUDGE




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